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           EXHIBIT H
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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

  STATE OF NEW JERSEY, et al.                     :
                                                  :
               Plaintiffs,
                                                  :
     v.                                           :
                                                  :
                                                  :   Civil Action No.: 1:25-cv-10139
                                                                        ___________
  DONALD J. TRUMP, et al.
                                                  :
               Defendants.                        :
                                                  :
                                                  :
                                                  :



                              DECLARATION OF KELLY SESTI
          I, KELLY SESTI, pursuant to 28 U.S.C. § 1746, hereby declare that the

following is true and correct:


          1.      I am the Director for the Bureau of Administration within the

Children’s Services Administration (CSA) of the Michigan Department of Health

and Human Services (MDHHS). In this role, I am responsible for oversight of

policy, technology, human resources, budget, continuous quality improvement

efforts and data management for CSA. I also oversee the Title IV-E program for

Michigan.

          2.      Through my role, I have personal knowledge of the matters set forth

below or have knowledge of the matters based on my review of information and

records gathered by my staff.

          3.      I am providing this declaration to explain certain impacts on the State

of Michigan’s Title IV-E program of the executive order titled “Protecting the


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Meaning and Value of American Citizenship,” issued on January 20, 2025 (the

“Executive Order”), which revokes birthright citizenship for children born in the

United States after February 19, 2025 to (i) a mother who is unlawfully present or

permitted into the United States on a temporary basis, and (ii) a father who is

neither a citizen nor a lawful permanent resident..

    Michigan’s Title IV-E program, eligibility requirements, and federal funding

      4.     Michigan currently serves a monthly average of 8,668 children through

the Title IV-E foster care program, 15,740 children through the Title IV-E adoption

assistance program, 527 children through the Title IV-E guardianship program, and

8,516 children with Title IV-E prevention services. These numbers do not include

the number of children who are already supported through state, county, and tribal

funds. All children who are eligible receive equitable access to these services

regardless of their citizenship status. Currently, MDHHS ensures that all children

in need of services are supported through a combination of state, county, and tribal

funds if they are not eligible for Title IV-E or other federal support. If children in

the Michigan foster care system are stripped of citizenship status pursuant to the

Executive Order, MDHHS would, consistent with state law and policy, continue to

provide these children with foster care services as needed. However, because those

children would be ineligible for Title IV-E funding, MDHHS would not receive any

federal reimbursement under Title IV-E for providing these services.

      5.     Michigan’s Title IV-E program also supports many programs through

administrative claims. Staffing for foster care, adoption, guardianship, and



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prevention cases are supported in part through Title IV-E funds. Child and parent

legal representation and the Foster Care Review Board through the State Court

Administrative Office are also supported through Title IV-E funds. Statewide

training initiatives for current MDHHS, contracted private agencies, and tribal

social services receive Title IV-E funding. The Title IV-E Child Welfare Fellowship

program, contracted through the University of Michigan and subcontracted to

several other Michigan public universities, is supported through Title IV-E funds.

These programs rely on the Title IV-E penetration rate to determine the matching

funds to meet the Title IV-E requirements. Partial reimbursement of

administrative expenses is calculated by using the State’s Title IV-E penetration

rate, which is based in part on the percentage of children in foster care who are

eligible for Title IV-E payments. MDHHS calculates the penetration rate for each

quarter. For federal Fiscal Years 2023 and 2024, the penetration rate was between

31 and 32 percent.

      6.     Due to the expansive programming that MDHHS has implemented

with Title IV-E support, a small drop in the Title IV-E penetration rate causes a

significant increase in the amount that the State, counties, and tribes must

contribute. For example, a one percent increase in the penetration rate in each

quarter of fiscal year 2024 would have resulted in an estimated $2,950,941.59 more

Title IV-E reimbursement to the state.

      7.     Children who are eligible for Title IV-E are categorically eligible for

Medicaid per federal requirements. Children placed with MDHHS who are not



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eligible for Medicaid because they are not a U.S. citizen or qualified alien, however,

continue to incur medical and dental expenses. Those expenses are paid by state

funds to ensure children have access to appropriate medical and dental care. Any

increase in the number of children who are not Title IV-E or Medicaid eligible due

to a change in citizenship determination will result in substantial increases in the

medical and dental costs to the state, starting with birth expenses for a child who

enters care as a newborn.

                  Fiscal Impact of Revoking Birthright Citizenship

      8.     The federal government’s policy of ending birthright citizenship for

children born in the United States based on their parent(s)’ non-citizen/immigration

status will have a variety of widespread impacts on Michigan’s foster care, adoption,

guardianship, and prevention system programs, including a decrease in receipt of

federal Title IV-E funding for children born in Michigan and increased operational

and administrative costs for Michigan.

      9.     For fiscal year 2024, Michigan claimed $30,824,969 in maintenance

expenses for foster care expenses, $113,843,897 for adoption assistance

maintenance expenses, $3,662,817 for guardianship maintenance expenses, and

$5,831,968 for prevention services. For fiscal year 2024, Michigan claimed a total of

$61,455,039 in administrative and training expenses for foster care, $21,808,189 in

administrative expenses for adoption assistance, $159,385 in administrative

expenses for guardianship, and $9,296,981 in administrative expenses for

prevention administration and training.



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                               Administrative Burden

      10.    In addition, MDHHS expects burdensome increases in administrative

and training costs for Title IV-E program as a result of the Executive Order.

      11.    MDHHS currently determines Title IV-E eligibility by meeting several

factors, one of which is being determined to be a United States citizen or qualified

alien. Per federal guidance, the Interim Guidance on Verification of Citizenship,

Qualified Alien Status and Eligibility Under Title IV-E of the Personal

Responsibility and Work Opportunity Reconciliation Act of 1996, published in the

Federal Register on November 17, 1997 (62 Fed. Reg. 61344) by the Department of

Justice, requirements were incorporated into MDHHS policies to ensure that the

citizenship and qualified alien requirements are being met. There are checks and

balances built into MDHHS’s policy, processes, and electronic case records system to

ensure that this eligibility requirement is met. Prior to the Executive Order there

were no federal requirements for the child’s parents’ citizenship to be factored into

the eligibility decision. That information is not gathered by MDHHS, nor readily

available. Obtaining this information from the Michigan Vital Records Department

would most likely require legislative changes if the parent does not voluntarily

provide the documentation. This delay in determining if this child is Title IV-E

eligible due to their citizenship would cause the child’s payments to be made from a

combination of state and county funds—rather than Title VI-E funds. This process

will add additional research onto those working with the family and the child

welfare funding specialists. Those delays in making a determination will force the



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state, county, and/or tribe to fully support those children in the interim time needed

for this additional research.

      12.    Estimates on the number of children who will be impacted is difficult

to determine as the citizenship and immigration status of parents is not something

that is currently tracked. The shift will impact the processes for all children who

enter care and were born after the implementation date of the Executive Order. In

fiscal year 2024, 824 children under one-year-old entered foster care. It is

estimated a similar number of newborns will enter foster care in 2025. For children

born after February 19, 2025, they will all require additional research into their

parents’ citizenship to determine if they meet the new citizenship details in the

Executive Order.

      13.    There is federal guidance regarding Social Security Numbers and their

impact to both Title IV-E and Medicaid eligibility as follows: Changes brought

about by the Deficit Reduction Act of 1984 (DEFRA) (Public Law 98-369) resulted in

an Office of Human Development Services (OHDS) Policy Announcement which

stated that otherwise eligible children are not required to apply for or furnish a

Social Security Number (SSN) in order to be eligible for the Title IV-E Foster Care

Maintenance Payments Program or the Adoption Assistance Program. However,

Title XIX program regulations, 42 C.F.R. § 435.910, were amended to require,

effective April 1, 1985, that each individual (including children) requesting

Medicaid services furnish his/her SSN as a condition of eligibility for Medicaid.

Children who are eligible for Title XIX Medicaid on the basis of their eligibility



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under Title IV-E must furnish an SSN as a condition of eligibility for Medicaid, even

though an SSN is not required under title IV-E.

      14.    The changes to citizenship documentation will require policy updates

and changes to the electronic case records system. Changes to the system come at a

large expense and will involve several different departments within MDHHS.

Training will be needed for all case managers within MDHHS, contracted private

agencies, and tribal social services agencies. Training of the courts in collaboration

with the State Court Administrative Office (SCAO) would be needed as well. The

Child Welfare Funding Specialists will require additional training regarding how to

now determine a child’s citizenship and how to manually track the changes until

updates can be made to the electronic case records system.

      15.    The cost of care for children who are not eligible for Title IV-E is paid

for with a combination of state, county, and tribal funds. Each of Michigan’s 83

counties and twelve federally recognized tribes will need to turn to their local

communities for additional funding to support the expected increase in their

contributions due to this Executive Order.


      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.




Dated: January 21, 2025                        ___________________________
                                               Kelly Sesti
                                               Director, Bureau of Administration
                                               Children’s Services, MDHHS
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